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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

   YU CHEN,                                       )
                                                  )
          Plaintiff,                              )
                                                  )
   v.                                             )          Case No. 1:25-cv-00696 (CMH/WBP)
                                                  )
   THE UNINCORPORATED                             )
   ASSOCIATIONS IDENTIFIED IN                     )
   SCHEDULE A,                                    )
                                                  )
          Defendants.                             )


                                               ORDER

          Before the Court is Plaintiff Yu Chen’s ex parte Motion for Expedited Discovery.

  (“Motion”; ECF No. 6.) For the following reasons, Plaintiff’s Motion is GRANTED.

         As alleged in the Complaint, Plaintiff is the exclusive owner of a patent that protects a

  design for a walking aid for people with limited mobility. (ECF No. 1 ¶¶ 1-2.) Plaintiff has

  alleged that Defendants are foreign individuals, companies, and unincorporated business

  associations who have been making and selling counterfeit versions of Plaintiff’s product. (Id. ¶

  3.) Plaintiff alleges that Defendants sell their counterfeit products on Amazon.com (“Amazon”)

  and, because Amazon does not require sellers to identify their true names and contact

  information, Defendants’ names, identities, and addresses are unknown. (ECF No. 3 at 2.) In its

  Motion, Plaintiff asks the Court to grant it leave to serve expedited third-party discovery on

  Amazon solely to seek Defendants’ identities, sales information, and the location and value of

  Defendants’ financial accounts with Amazon. (Id. at 2-3.) Thus, Plaintiff is asking the Court for

  leave to serve a Federal Rule of Civil Procedure 45 subpoena on Amazon.
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         While the Federal Rules of Civil Procedure prohibit parties from engaging in discovery

  of any type before a Rule 26(f) conference, FED. R. CIV. P. 26(d)(1), courts in the Fourth Circuit

  have allowed parties to serve third-party subpoenas before the 26(f) conference if the movant can

  show that “good cause” exists. See Moore v. Doe, No. 1:19-cv-01018-LMB-MSN, 2019 WL

  13294603, at *1 (E.D. Va. Sept. 13, 2019) (“Plaintiff established that ‘good cause’ exists for it to

  serve a third-party subpoena.”).

         The “well-established” test for determining good cause consists of five factors: “(1) a

  concrete showing of a prima facie claim of actionable harm; (2) specificity of the discovery

  request; (3) the absence of alternative means to obtain the subpoenaed information; (4) a central

  need for the subpoenaed information; and (5) the party’s expectation of privacy.” Strike 3

  Holdings, 2023 WL 8720700, at *1 (citing LHF Prods., Inc. v. Does 1-5, No. 1:17-cv-00151-

  MR, 2017 LW 2960789, at *1 (W.D.N.C. July 11, 2017) and quoting Sony Music Ent. v. Does 1-

  40, 326 F. Supp. 2d 556, 564-65 (S.D.N.Y. 2004)). These five factors justify allowing Plaintiff to

  issue a Rule 45 subpoena on Amazon.com before the Rule 26(f) conference solely to discover

  Defendants’ identities, sales information, and location and value Defendants’ financial accounts

  with Amazon.

         First, Plaintiff’s Complaint states a prima facie claim for patent infringement, including

  allegations that Plaintiff owns the patent at issue and Defendants make and sell counterfeit

  products that look like Plaintiff’s product. (ECF No. 1 ¶¶ 23-41.) Second, Plaintiff’s proposed

  expedited discovery order serves only to discover the number of sales and the amount of money

  held by Amazon for each Defendants, as well as any name, email address, address, telephone

  number, and bank account associated with the Amazon accounts. (ECF No. 6-1.) Third, Plaintiff

  has no other way of identifying Defendants other than by court order granting Plaintiff leave to



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  serve a Rule 45 subpoena. Fourth, the information sought is necessary to effect service on

  Defendants.

         Finally, Defendants’ expectation of privacy is of minimal significance because Plaintiff

  seeks limited discoverable information. See Apothecary Prod. LLC v. Doe, No. 19-CV-2278

  (PJS/HB), 2019 WL 13471384, at *3 (D. Minn. Sept. 24, 2019) (holding that expectation of

  privacy was minimally significant in a patent infringement case because the plaintiff requested

  limited contact information from a third-party webstore).

         For these reasons, the Court finds that good cause exists to allow Plaintiff to serve a Rule

  45 subpoena on Amazon.com before the Rule 26(f) conference. Accordingly, it is therefore

         ORDERED that Plaintiff’s Motion is GRANTED; and it is further

         ORDERED that Plaintiff may immediately serve a Rule 45 subpoena on Amazon

  sufficient to discover the amount of money held by Amazon in accounts associated with

  Defendants, as well as any name, email address, address, telephone number, and bank account

  associated with these Amazon accounts.

          Entered this 28th day of April 2025.

                                                        _________________________________
                                                        William B. Porter
   Alexandria, Virginia                                 United States Magistrate Judge




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